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                                  UNITED STATES DISTRICT COURT
   7
   8                            CENTRAL DISTRICT OF CALIFORNIA

   9   THERESA BROOKE, a married woman
       dealing with her sole and separate claim,      Case No: 8:23-cv-00086
  10
  11                           Plaintiff,             VERIFIED AMENDED
                                                      COMPLAINT
  12   vs.
  13                                                  (JURY TRIAL DEMANDED)
       ARTEMIS CONVENTION HOTEL LLC,
  14   a California limited liability company,
  15
                               Defendant.
  16
              Plaintiff Theresa Marie Brooke alleges:
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                                                PARTIES
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              1.      Plaintiff Theresa Brooke is a married woman. Plaintiff is legally disabled,
  19
       and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2),
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       the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the
  21
       California Unruh Civil Rights Act. Plaintiff ambulates with the aid of a wheelchair due
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       to the loss of a leg.
  23
              2.      Defendant, Artemis Convention Hotel LLC, owns and/or operates and
  24
       does business as the hotel DoubleTree Suites by Hilton Hotel Anaheim Resort –
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       Convention Center, 2085 South Harbor Boulevard, Anaheim, California 92802.
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       Defendant’s hotel is a public accommodation pursuant to 42 U.S.C. § 12181(7)(A),
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   1   which offers public lodging services. On information and belief, Defendant’s hotel was
   2   built or renovated after March 15, 2012.
   3                                          JURISDICTION
   4          3.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
   5   U.S.C. § 12188.
   6          4.     Plaintiff’s claims asserted herein arose in this judicial district and
   7   Defendant does substantial business in this judicial district.
   8          5.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
   9   in that this is the judicial district in which a substantial part of the acts and omissions
  10   giving rise to the claims occurred.
  11          6.     Pursuant to Arroyo v. Rosas, supplemental jurisdiction is appropriate over
  12   Plaintiff’s Unruh claim. On a case-specific analysis, there are no compelling reasons to
  13   decline jurisdiction.
  14                                          ALLEGATIONS
  15          7.     Plaintiff alleges that Defendant’s hotel does not have a compliant access
  16   aisle at the passenger loading zone adjacent to the hotel lobby in violation of Sections
  17   209 and 503 of the 2010 Standards. An access aisle has specific requirements to be
  18   compliant with the Standards: It must be (1) 60 inches wide and at least 20 feet long, (2)
  19   it must have an accessible route adjoining it, and (3) it cannot be within a vehicular
  20   way. Section 503.3.
  21          8.     The requirement for an access aisle at a passenger loading zone is
  22   immensely important for a person in a wheelchair such as Plaintiff, as it provides safe
  23   access to the entry of the hotel and deters others from placing encumbrances or
  24   obstacles there such as a vehicle parking. An access aisle is akin to a cross-walk for
  25   pedestrians. Absence of an access aisle where required creates dangerous conditions for
  26   a person in a wheelchair such as Plaintiff.
  27          9.     Plaintiff formerly worked in the hospitality industry and her husband
  28   works in the travel industry. She and her husband are avid travelers to California for


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   1   purposes of leisure travel and to “test” whether various hotels comply with disability
   2   access laws. Testing is encouraged by the Ninth Circuit Court of Appeals.
   3           10.   Plaintiff traveled to Orange County in December 2022 for testing ADA
   4   compliance and leisure travel. She anticipates returning to Orange County several times
   5   in the next year for testing, leisure and checking on compliance with past testing.
   6   Plaintiff also has concrete plans to lodge at Defendant’s hotel in July 2023, but she will
   7   not honor her concrete plans if Defendant has not provided notice of remediation by
   8   then.
   9           11.   During this trip, Plaintiff personally visited Defendant’s hotel.
  10   Defendant’s hotel has a passenger loading zone because pickup and dropoff occurs
  11   there and it is located directly outside of the lobby entrance. There are also design
  12   features showing an intent for utilization as a passenger loading zone. For example,
  13   there is a porte cochere, which by definition is a design feature for passenger loading
  14   zones. According to the U.S. Access Board Technical Guidelines on Passenger Loading
  15   Zones, passenger loading zones are so common at hotels that even it recognizes “many
  16   hotel entrances” have the design features indicating an intent to utilize as PLZs.
  17           12.   While at Defendant’s hotel, she discovered that Defendant’s hotel has a
  18   barrier to entry to the lobby, which is that the passenger loading zone does not have an
  19   access aisle compliant with Section 503.3. It is an absolute requirement to have an
  20   access aisle at a passenger loading zone pursuant to Sections 209 and 503. The
  21   requirement of an access aisle at a passenger loading zone relates to Plaintiff’s
  22   disability of not having one leg and being forced to use a wheelchair because access
  23   aisles are required so persons in a wheelchair can maneuver without threat of danger
  24   from other vehicles and without other encumbrances blocking their pathway. The
  25   lobby, therefore, is inaccessible to Plaintiff by way of the passenger loading zone
  26   because there is no access aisle.
  27           13.   Plaintiff gained actual and personal knowledge of a barrier while visiting
  28   Defendant’s hotel (no access aisle at passenger loading zone), and as a result, she was


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   1   deterred from entering the hotel. She anticipates returning to this hotel and has concrete
   2   plans to do so in July 2023 (see above), but she will only lodge at the hotel if Defendant
   3   puts the required access aisle into place and gives notice of such remediation before her
   4   definitive return. Visiting otherwise would be futile because the lack of the access aisle
   5   represents a barrier to entering the lobby.
   6          14.    It is readily achievable to modify the hotel to provide an access aisle.
   7   Provision of an access aisle is extremely inexpensive; it involves painting and
   8   measuring tools.
   9          15.    Without injunctive relief, Plaintiff and others will continue to be unable to
  10   independently use Defendant’s hotel in violation of her rights under the ADA.
  11                                   FIRST CAUSE OF ACTION
  12          16.    Plaintiff incorporates all allegations heretofore set forth.
  13          17.    Defendant has discriminated against Plaintiff and others in that it has
  14   failed to make its public lodging services fully accessible to, and independently usable
  15   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §
  16   121282(b)(2)(iv) and the 2010 Standards, as described above.
  17          18.    Defendant has discriminated against Plaintiff in that it has failed to
  18   remove architectural barriers to make its lodging services fully accessible to, and
  19   independently usable by individuals who are disabled in violation of 42 U.S.C.
  20   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
  21   2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
  22   services nor result in an undue burden to Defendant.
  23          19.    In violation of the 2010 Standards, Defendant’s hotel passenger loading
  24   zone does not have a disability access aisle compliant with Section 503.3 of the
  25   Standards.
  26          20.    Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
  27   as described above, is readily achievable by the Defendant. Id. Readily achievable
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   1   means that providing access is easily accomplishable without significant difficulty or
   2   expense.
   3          21.      Defendant’s conduct is ongoing, and Plaintiff invokes her statutory right
   4   to declaratory and injunctive relief, as well as costs and attorneys’ fees.
   5          22.      Without the requested injunctive relief, Defendant’s non-compliance with
   6   the ADA’s requirements that its passenger loading zone be fully accessible to, and
   7   independently useable by, disabled people is likely to recur.
   8          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
   9                a. Declaratory Judgment that at the commencement of this action Defendant
                       was in violation of the specific requirements of Title III of the ADA
  10                   described above, and the relevant implementing regulations of the ADA;
  11
                    b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
  12                   36.504(a) which directs Defendant to take all steps necessary to bring its
  13                   passenger loading zone into full compliance with the requirements set
                       forth in the ADA;
  14
                    c. Payment of costs and attorney’s fees;
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  16                d. Provision of whatever other relief the Court deems just, equitable and
                       appropriate.
  17                                 SECOND CAUSE OF ACTION
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              23.      Plaintiff realleges all allegations heretofore set forth.
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              24.      Defendant has violated the Unruh by denying Plaintiff equal access to its
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       public accommodation on the basis of her disability as outlined above.
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              25.      Unruh provides for declaratory and monetary relief to “aggrieved
  22
       persons” who suffer from discrimination on the basis of their disability.
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              26.      Plaintiff has been damaged by the Defendant’s non-compliance with
  24
       Unruh.
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              27.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
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       relief as the Court considers appropriate, including monetary damages in an amount of
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       $4,000.00, and not more.
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   1          28.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
   2   amount to be proven at trial.
   3          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
   4                a. Declaratory Judgment that at the commencement of this action Defendant
                       was in violation of the specific requirements of Unruh; and
   5
   6                b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
                       36.504(a) which directs Defendant to take all steps necessary to bring its
   7                   passenger loading zone into full compliance with the requirements set
   8                   forth in the ADA;

   9                c. Payment of costs and attorney’s fees;
  10                d. Damages in the amount of $4,000.00; and
  11
                    e. Provision of whatever other relief the Court deems just, equitable and
  12                   appropriate.
                                      DEMAND FOR JURY TRIAL
  13
              Plaintiff hereby demands a jury trial on issues triable by a jury.
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  15
              RESPECTFULLY SUBMITTED this 30th day of January, 2023.
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  17                                              /s/ P. Kristofer Strojnik
                                                  P. Kristofer Strojnik (242728)
  18                                              Attorneys for Plaintiff
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  20                                          VERIFICATION
  21
              I declare under penalty of perjury that the foregoing is true and correct.
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                              DATED this 30th day of January, 2023.
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  26
  27          Theresa Marie Brooke
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